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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION


     In Re: COOK MEDICAL, INC., IVC           )
     FILTERS MARKETING, SALES                 )
     PRACTICES AND PRODUCT                    )
     LIABILITY LITIGATION                     )              1:14-ml-02570-RLY-TAB
     ___________________________________      )              MDL No. 2570
                                              )
     This Document Relates to:                )
     Brenda Helms, Bankruptcy Trustee for the )
     Estate of Arthur Gage v. Cook Medical,   )
     Inc. et al.                              )
     1:14-cv-1875-RLY-TAB                     )
     ___________________________________ )


         ENTRY ON THE COOK DEFENDANTS’ MOTION FOR SUMMARY
                             JUDGMENT

          Cook Incorporated, Cook Medical LLC (f/k/a Cook Medical Incorporated), and

   William Cook Europe APS (collectively “the Cook Defendants” or “Cook”) manufacture

   and distribute the Gunther Tulip inferior vena cava (“IVC”) filter. As its name suggests,

   the device is placed into one’s inferior vena cava as a means to prevent pulmonary

   embolism.

          On April 27, 2011, Arthur Gage, the Plaintiff herein, had a Gunther Tulip IVC

   filter placed by Dr. Mark Goodwin at Edward Hospital, in Naperville, Illinois. Both

   parties agree that his Tulip filter became malpositioned, with the apex of the filter located

   in his right renal vein. Plaintiff alleges the malpositioned filter is the cause of pain he

   suffers in his back, right abdominal region, and leg. He therefore brings this product

   liability action against the Cook Defendants, alleging strict-liability failure to warn,
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   negligent failure to warn, negligent design, negligent manufacturing, and breach of

   express and implied warranty. He seeks both compensatory and punitive damages.

   Cook now moves for summary judgment. For the reasons explained below, Cook’s

   motion is GRANTED in part and DENIED in part.

   I.     Discussion

          Cook moves for summary judgment on multiple grounds. It first argues Plaintiff’s

   product liability claims are barred based on Illinois’s two-year statute of limitations.

          A.     Statute of Limitations

          Under Illinois law, the statute of limitations accrues at the time the plaintiff is

   injured. Hutson v. Hartke, 686 N.E.2d 734, 736 (Ill. App. Ct. 1997). For purposes of the

   accrual date, Illinois follows the discovery rule. Id. “The discovery rule postpones the

   commencement of the statute of limitations until the injured plaintiff knows or reasonably

   should know that she has been injured and that her injury was wrongfully caused.” Id.

   Stated another way, “when a party knows or reasonably should know that an injury has

   occurred and that it was wrongfully caused, the statute begins to run and the party is

   under an obligation to inquire further to determine whether an actionable wrong was

   committed.” Nolan v. Johns-Manville Asbestos, 421 N.E.2d 864, 868 (1981). Plaintiff,

   as the party asserting the discovery rule, bears the burden of proving the date of

   discovery. Solis v. BASF Corp., 979 N.E.2d 419, 429 (Ill. Ct. App. 2012).

          Here, Plaintiff testified he began having excruciating pain immediately after the

   April 27, 2011 surgery. (Filing No. 5749-3, Deposition of Arthur Gage “Plaintiff Dep.”

   at 238). He testified that this pain was different than what he had ever experienced

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   before. (Id. at 239). He immediately attributed his new-onset pain to the IVC filter. (Id.

   at 243). Three days after placement, he told his medical providers that he believed his

   new onset-pain was caused by the IVC filter. (Id. at 249; Filing No. 5749-6, Deposition

   of Antonio Pangan, MD at 35-36; Filing No. 5750-1, April 30, 2011 Consultation note).

          Plaintiff continued to have pain, which he attributed to his IVC filter. (Plaintiff

   Dep. at 243, 248, 250). His companion, Orajean Daughrity, testified to the same. (Filing

   No. 5749-4, Deposition of Orajean Daughrity at 75 (“[H]e said he didn’t feel the pain

   before, that particular pain before he had the IVC filter inserted.”; id. at 77 (“. . . two or

   three days after the placement of the filter, he started having – complaining about pain in

   his lower back, in his leg and in his groin area, and that’s pain that’s been from that time

   on consistent up to now.”)). And he continued to complain to his physicians that the

   cause of the pain was, at least in part, from the IVC filter. (See, e.g., Filing No. 6148-4,

   Oct. 8, 2013 Progress Note; Filing No. 6148-5, Nov. 8, 2013 Progress Note). At oral

   argument held on February 14, 2018, Plaintiff’s counsel conceded these points.

          Given this undisputed evidence, the court must conclude that Plaintiff had

   knowledge of his injury and its wrongful cause more than two years before he filed the

   present lawsuit on November 14, 2014. Therefore, Plaintiff’s product liability claims

   based on failure to warn, defective design, and negligent manufacture are barred under

   the applicable statute of limitations. Accordingly, Cook’s Motion for Summary

   Judgment on Plaintiff’s product liability claims is GRANTED.




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          B.     Breach of Warranty Claims

          Plaintiff’s breach of express and implied warranty claims are subject to a four-year

   statute of limitations. See Moorman Mfg. Co. v. Nat’l Tank Co., 435 N.E.2d 443, 454

   (Ill. 1982); Progressive N. Ins. Co. of Ill. v. Ford Motor Co., 259 F. Supp. 3d 887, 890

   (S.D. Ill. 2017) (citing 810 ILCS 5/2-725). Because these claims were timely filed, the

   court must address the merits of these claims.

                 1.     Express Warranty

          “To state a claim for breach of express warranty, plaintiffs must allege that (1) the

   seller made an affirmation of fact or promise; (2) relating to the goods; (3) which was

   part of the basis for the bargain; and (4) [the] seller guaranteed that the goods would

   conform to the affirmation or promise.” Indus. Hard Chrome, Ltd. v. Hetran, Inc., 64 F.

   Supp. 2d 741, 747 (N.D. Ill. 1999). Because “express warranties are contractual in

   nature, the language of the warranty itself is what controls and dictates the obligations

   and rights of the various parties.” Hasek v. DaimlerChrysler Corp., 745 N.E.2d 627, 634

   (Ill. App. Ct. 2001). “To state a claim, the terms of the express warranty must be stated

   or attached to the complaint and failure to do so renders the claim invalid.” Bd. of Educ.

   of City of Chic. v. A, C & S, Inc., 546 N.E.2d 580, 595 (Ill. 1989) (internal citation

   omitted).

          Plaintiff argues his warranty claim survives summary judgment because (1) he

   pled that Cook expressly warranted the filter was safe for its intended use (Compl. ¶ 51);

   and (2) the Tulip IFU states that the filter is “intended for the prevention of pulmonary

   embolism,” (IFU at 4).

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            An allegation in a complaint is not evidence and is, therefore, insufficient to

   support his claim. Lacy v. Berge, 921 F.Supp. 600, 607 (E.D. Wisc. 1996)

   (“Mere allegations or denials of the adverse party’s pleadings are not enough to prevent

   issuance of summary judgment.”). And the IFU statement is simply meant to state the

   purpose for which the filter is intended; it does not warrant a particular level of

   performance or anything else. Therefore, Cook’s Motion for Summary Judgment on

   Plaintiff’s breach of express warranty claim is GRANTED.

                   2.     Implied Warranty

            A product breaches the implied warranty of merchantability if it is not fit for the

   ordinary purposes for which such goods are used. Maldonado v. Creative Woodworking

   Concepts, Inc., 796 N.E.2d 662, 666 (Ill. App. Ct. 2003). “To succeed on a claim for

   breach of implied warranty of merchantability, a plaintiff must allege and prove: (1) a

   sale of goods, (2) by a merchant of those goods, and (3) the goods were not of

   merchantable quality.” Brandt v. Boston Scientific Corp., 792 N.E.2d 296, 299 (Ill.

   2003).

            “[T]he theories of breach of implied warranty and strict liability are nearly

   identical. It has been stated that a breach of implied warranty theory is a form of strict

   liability without the necessity of proving negligence or fault on the part of the defendant.”

   State Farm Fire & Cas. Co. v. Miller Elec. Co., 562 N.E.2d 589, 595 (Ill. App. Ct. 1990)

   (quoting Nave v. Rainbo Tire Serv., Inc., 462 N.E.2d 620, 625 (Ill. App. Ct. 1984)).

   Consequently, in both causes of action, the plaintiff must prove the product is defective.

   Id.

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          Cook argues that none of Plaintiff’s experts actually identify a product defect in

   the design of the Tulip IVC filter. One of Plaintiff’s defective design experts is Dr.

   Robert McMeeking. The court denied Cook’s motion to exclude his testimony in the Hill

   bellwether. Dr. McMeeking’s opinions, and Cook’s challenge to his opinions, apply

   equally to Gage. Given those circumstances, the court sees no reason to reverse course

   and exclude his design opinions here. Accordingly, Plaintiff does in fact have evidence

   of a product defect. 1 As this is Cook’s only argument, its Motion for Summary Judgment

   on Plaintiff’s implied warranty claim must be DENIED.

   II.    Conclusion

          Cook’s Motion for Summary Judgment (Filing No. 5745) is GRANTED in part

   and DENIED in part. Specifically, it is GRANTED with respect to Plaintiff’s defective

   design, failure-to-warn, negligent manufacturing, and express warranty claims, and is

   DENIED with respect to Plaintiff’s implied warranty claim. In light of the Bankruptcy

   Trustee’s letter to Plaintiff’s counsel dated February 6, 2018, Plaintiff must inform the

   court, within ten (10) days of the date of this Entry, of his intention to either pursue this

   claim or dismiss it with prejudice.

   SO ORDERED this 26th day of February 2018.




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     Because Dr. McMeeking’s opinion is sufficient for Plaintiff’s breach of implied warranty claim
   to survive, the court need not address the opinions of Dr. Alexander Marmureanu or Dr. David
   Garcia.
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